                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
          v.                                      ) Case No. 3:15-CR-244-MOC-DSC
                                                  )
 MICHAEL KIPP and JOANNE VIARD                    )
                                                  )
                                                  )


               ___________________________________________________________

                                MOTION TO WITHDRAW
               ___________________________________________________________
         In accordance with Local Rule 83.1(f), Julian W. DuRant moves to withdraw as an attorney of

record in this case. “Good cause” exists for withdrawal (see Local Rule 83.1(f)) because he will no

longer be affiliated with Alston & Bird LLP as of May 11, 2018, and the other attorneys of record will

continue to represent Ms. Viard. Ms. Viard can be contacted through her attorneys of record in this

case.

Respectfully submitted: May 10, 2018
                                               s/ Julian W. DuRant
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                                               Attorney for Defendant Joanne Viard




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                                   CERTIFICATE OF SERVICE

        I certify that on May 10, 2018, I served this Motion by filing a true copy through the Court’s

electronic filing system, which will send notification of the filing to all counsel of record in this matter

via email through CM/ECF.


                                                          s/ Julian W. DuRant
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